1. "It is the proper practice for the plaintiff in an action against several defendants to bring to this court for review, by a single bill of exceptions, separate judgments sustaining separate demurrers filed by the defendants below." Butler v. Lewman, 115 Ga. 752 (42 S.E. 98).
2. Here there was but one case in the lower court, and, upon its final termination therein, the plaintiff in error is not at liberty to bring his case to this court by piecemeal — it should have been brought up by a single bill of exceptions. *Page 500 
3. The Atlanta Journal Company, one of the parties defendant in the litigation in the court below and directly interested in having the judgment excepted to sustained by this court, is not named a party defendant in the bill of exceptions, and, being a necessary party to the bill of exceptions, and not having been made a party, and not having been served with a copy of the bill of exceptions, the Court of Appeals is without jurisdiction of this case, and the writ of error herein must be dismissed.
4. This court being without jurisdiction in the instant case is without authority to consolidate it with Moore v. Atlanta Journal Company, post, or to permit it to be amended by making the Atlanta Journal Company a party defendant in the bill of exceptions in the present case. The motion to consolidate and the motion to amend are denied; and, for lack of jurisdiction, the writ of error must be, and is, dismissed.
                          DECIDED MAY 31, 1945.
When this case came on to be heard at the present term of this court, counsel for Sanford presented a motion to dismiss the writ of error for the following reasons: "This suit was brought against the defendant in error and another defendant in the lower court, to wit, the Atlanta Journal Company, charging them as joint tort-feasors. The ruling complained of by the present bill of exceptions is a ruling of the trial court sustaining the general demurrer of the defendant Sanford and dismissing the entire case. The codefendant in the trial court, to wit, the Atlanta Journal Company, is a defendant to whose benefit such judgment also inures, and is interested in sustaining such judgment. The plaintiff in error has not in this bill of exceptions made the said Atlanta Journal Company a defendant in error or served it with a copy of the bill of exceptions." Thereupon, counsel for the plaintiff in error, moved the court to grant an order consolidating this case with case No. 30860 in this court, styled Madge Moore v. the Atlanta Journal Company, and for reason thereof said: "That both of said cases were brought to this court on separate bills of exceptions from Fulton superior court for the reason that in the court below each defendant, to wit, the Atlanta Journal Company and S. V. Sanford, filed their separate general demurrer and obtained separate order on each general demurrer sustaining same and dismissing plaintiff's case, to which plaintiff filed two separate bills of exceptions to this court, and each defendant was served with copy of the bill of exceptions in the cases in this court in *Page 501 
which they were specially named as defendant in error, and also the brief of plaintiff in error, which was the same in both cases in this court, and each referred to the other as growing out of the one case in Fulton superior court in which the said two separate orders were taken on separate general demurrers filed by each defendant. That all issues involved can be disposed of in this court as to both defendants in error in one case." The plaintiff in error also moved the court to allow her to amend the bill of exceptions by making the Atlanta Journal Company a party defendant in error, to wit: "The record will show that the Atlanta Journal Company and S. V. Sanford were sued jointly in the Fulton superior court; that they each filed separate demurrers and obtained separate orders on their demurrers sustaining them and dismissing the plaintiff's case, to which separate orders plaintiff filed in the Fulton superior court a separate bill of exceptions to this court. Each bill of exceptions set out what had occurred, to wit: that two separate general demurrers had been filed in the court below by the named defendants, and that separate orders had been taken on each, and that for that reason a separate bill of exceptions was being filed to each order as to each defendant's separate general demurrer. Plaintiff in error now shows that on the same date of filing of this bill of exceptions in this case another bill of exceptions was filed in this court styled Madge Moore, plaintiff in error, v. The Atlanta Journal Company, defendant in error, being case No. 30860 in this court, and each bill of exceptions so filed referred each to the other as growing out of the one case in the court below, in which two separate general demurrers had been sustained by separate orders of the court below. That the bill of exceptions in case No. 30860 in this court and also the brief of plaintiff in error were served upon defendant in error, the Atlanta Journal Company, and were the same bill of exceptions and the same brief as to wording, except where changes were necessary, such as captions, parties, names, etc., as filed in this case. Plaintiff in error has now offered and offers to the Atlanta Journal Company a copy of the bill of exceptions and the brief in this particular case."
In Western Union Telegraph Co. v. Griffith, *Page 502 111 Ga. 551 (36 S.E. 859), it is said: "A bill of exceptions may in this court be amended by the record so as to include the names of all necessary or proper parties who might have been joined with the party excepting as plaintiffs in error; aliter, as to parties defendant not named in the writ of error, who are unwilling to waive service and consent that the case be heard on its merits." In Butler v. Lewman, supra, it is said: "There was but one case in the lower court, and upon its final termination therein it was properly brought to this court by a single bill of exceptions, the plaintiff in error not being at liberty, even had he chosen to do so, to bring up his case by piecemeal." In that case the plaintiff, in an action against several defendants, carried his case to the Supreme Court for review by a single bill of exceptions excepting to separate judgments sustaining separate demurrers filed by separate defendants in the court below. In Anderson v. Haas, 160 Ga. 420
(128 S.E. 178), it is said: "Where suit is brought against several defendants and only one of them appears and files a defense in the form of a general demurrer and a plea and answer, and the demurrer of this defendant is sustained and the case dismissed, the other defendants who are interested in sustaining the judgment should be made defendants in error in the bill of exceptions; and if they are not made parties the bill of exceptions will be dismissed." In Clark Milling Co. v.Simmons, 155 Ga. 505 (117 S.E. 437), it is said: "Parties who are interested in sustaining the judgment of the court below are necessary defendants to a bill of exceptions brought by a losing party to reverse such judgment; and where some of such parties have not been served with the bill of exceptions, and have not acknowledged or waived service, the bill of exceptions, upon motion, must be dismissed."
Upon an inspection of the bill of exceptions and the record, we find that the allegations in the motion to dismiss the bill of exceptions are true, i. e., that the Atlanta Journal Company, one of the parties defendant in the litigation in the court below and directly interested in having the judgment excepted to sustained by this court, is not named a party defendant in the bill of exceptions. We conclude that the Atlanta Journal Company was a necessary party to the bill of exceptions in the instant case, and not having been served with a copy of the bill of exceptions, and not having acknowledged service thereof as required by law, the *Page 503 
Court of Appeals is without jurisdiction, and the writ of error must be dismissed. Teasley v. Cordell, 153 Ga. 397, 400
(112 S.E. 287); Warnock v. Woodard, 183 Ga. 367
(188 S.E. 336). See in this connection, Barron v. Barron, 181 Ga. 505
(182 S.E. 851). This court being without jurisdiction in the instant case is without authority to consolidate it with the case of Moore v. Atlanta Journal Company, post, or to permit the bill of exceptions here to be amended by making the Atlanta Journal Company a party defendant to the bill of exceptions in the present case. Therefore, the motion to consolidate and the motion to amend are denied, and, for lack of jurisdiction, the writ of error must be, and is
Dismissed. Broyles, C. J., and Gardner, J., concur.